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Harrison County School District

.11072 Highway 49 Gulfport, MS 39503
Telephone: (228)539-6500 Facsimile: (228)539-6507
E. Mitchell King, Superintendent of Education

SSS a aa a eS a RES

Commencement Participation Agreement

 

I, (print name), vy , a member of the Harrison
Central High School Senior Class of 2023, am aware that the Graduation Commencement
Ceremony scheduled for May 20, 2023 should reflect the standards of the Harrison County
School District. I acknowledge that the Harrison County School District and its included
communities expect this Ceremony to be dignified. | am aware that my participation in the
Graduation Commencement Ceremony is voluntary and that receiving my diploma from
Harrison County School District does not depend upon participation in the Graduation .
Commencement Ceremony.

Should I choose to participate in the Graduation Commencement Ceremony, I will follow the
Commencement dress code and obey all school rules and School Board Policies, I agree and
pledge that my personal conduct and dress will be appropriate, above reproach, and will
appease both the Ceremony and the expectations of the Harrison County School District and
its community. Further, I pledge that I will neither support nor tolerate inappropriate behavior.
(nappropriate behavior is that which calls undue attention to one student or group of students,
while detracting attention from the Ceremony and/or the student on stage.)

Any violation of the rules set forth in the Graduation Information Packet, Student Code of
Conduct, Student Handbook and Graduation Exercises Policy IHFC, may result in serious
consequences, Exemplary behavior between NOW and GRADUATION is mandatory. Please
be aware that any discipline issue during the Graduation Commencement Ceremony can and
will prevent you from receiving your diploma without appearing before the School Board at a
date later than graduation.

By signing this agreement, J and my parents are acknowledging that we have read, understand,
and agree to abide by the conditions set forth in this packet. Please return the signed agreement
to Harrison Central High School Guidance Office by March 31, 2023.

Menes
Student Signature: + ¥

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